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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                   :
     Plaintiff,                            :
                                           :      CIVIL ACTION NO.
v.                                         :      3:06-cr-00109 (JCH)
                                           :
ALBERT EUGENE TUCKER                       :      JANUARY 23, 2009
     Defendant                             :

                            RECHARACTERIZATION ORDER

       Albert Eugene Tucker, a federal prisoner, is currently serving a fifty month

sentence following his plea of guilty to one count of conspiracy to possess with intent to

distribute, and to distribute cocaine base in violation of 21 U.S.C. §§ 841 (b)(1)(A)(iii)

and 846. On January 20, 2009, Tucker filed a letter with the court requesting that it

reduce his sentence due to his ineligibility to participate in the Bureau of Prison’s

Residential Drug Abuse Program(Doc. No. 285). Because this letter challenges the

length of the Tucker’s sentence, it should have been filed as a motion to vacate, set

aside, or correct sentence pursuant to 28 U.S.C. § 2255. The Second Circuit has held

that, when a petitioner has never filed a motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. § 2255, a district court may not simply construe “ a motion

purportedly made under some other rule” as a motion to vacate, set aside, or correct

sentence without providing notice to the petitioner. Adams v. United States, 155 F.3d

582, 584 (2d Cir. 1998). Prior to recharacterizing the Motion for Sentence Adjustment

as a motion brought pursuant to section 2255, the court must permit the petitioner to

either: (1) agree to the recharacterization of his letter as a section 2255 or (2) “withdraw

the [letter] rather than have it so recharacterized.” Id. If petitioner chooses to withdraw

the letter, he may also “amend it so that it contains all the 2255 claims he believes he
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has.” Castro v. United States, 540 U.S. 375, 383 (2003).

       Accordingly, because the petitioner has not previously filed a motion pursuant to

section 2255, on or before February 13, 2009, the petitioner shall file a Notice in which

he either: (1) agrees to the recharacterization of his letter as a section 2255 motion, or

(2) withdraws the letter rather than have the court recharacterize it as a section 2255

motion. If the petitioner fails to respond to this order, the court will recharacterize and

rule on the petition accordingly. Furthermore, the court warns petitioner that

recharacterizing his letter to a section 2255 motion means that “any subsequent 2255

motion will be subject to the restrictions on ‘second or successive’ motions.” Id; see

also 28 U.S.C. § 2255(h).

SO ORDERED.

       Dated at Bridgeport, Connecticut this 23rd day of January, 2009.



                                            /s/ Janet C. Hall
                                           Janet C. Hall
                                           United States District Judge
